             Case:23-80050-jwb         Doc #:9 Filed: 03/06/2024       Page 1 of 1




                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                       ______________________________________
In re:
RAMIRO RAUL JIMENEZ and                                     Case No. 23-00792
JENNIFER KATHLEEN JIMENEZ,                                  Chapter 7
                                                            Hon. James W. Boyd
                        Debtors.                            Date of Filing: 04/06/2023
__________________________________/

JENNIFER KATHLEEN JIMENEZ,

                              Plaintiff,
v                                                           Adv. Pro. No. 23-80050

U.S. DEPARTMENT OF EDUCATION,

                        Defendant.
___________________________________/

                PLAINTIFF’S NOTICE TO DISMISS ADVERSARY
            PROCEEDING PURSUANT TO F. R. CIV. P. RULE 41(a)(1)(A)(i)

       NOW COMES Jennifer K. Jimenez, Plaintiff in this adversary proceeding, through her
Attorney, Michael P. Corcoran, hereby Dismisses this Adversary Proceeding.
       WHEREFORE, pursuant to F. R. Civ. P. Rule 41(a)(1)(A)(i) of the Bankruptcy Rules, the
Plaintiff hereby gives Notice of the Dismissal of this Adversary Proceeding.




March 6, 2024                                       /s/ Michael P. Corcoran
Date                                                Michael P. Corcoran
                                                    Attorney for Plaintiff
                                                    617 West Front Street
                                                    Traverse City, MI 49684
                                                    (231) 929-7000
                                                    2corm@charter.net
